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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Nautilus Insurance Company,                                C/A No.: 2:22-cv-1307-RMG

                Plaintiff,
v.                                                              STATUS REPORT

Richard Alexander Murdaugh, Sr.; Cory
Fleming, Moss & Kuhn, P.A.; Chad
Westendorf; and Palmetto State Bank,

                Defendants.


       Defendant Richard Alexander Murdaugh, Sr., through his undersigned attorneys, hereby

provides a status report pursuant to the Court’s order dated January 13, 2023. (ECF No. 99.) On

March 3, 2023, Defendant’s murder trial concluded when he was sentenced to two consecutive life

sentences. Defendant was thereafter incarcerated at Kirkland Reception and Evaluation Center

pending assignment to a prison. At the end of last week, Defendant was assigned to a Restrictive

Housing Unit within the South Carolina Department of Corrections (SCDOC), at a prison that

cannot be publicly identified, because he has been identified as requiring Statewide Protective

Custody.    Details of the SCDOC Statewide Protective Custody policy are available at

https://www.doc.sc.gov/policy/OP-22-23.htm.pdf.

       The stay of this matter expired today. (See ECF No. 99 at 2.) Mr. Murdaugh intends to

participate fully in this litigation to the extent his carceral circumstances permit. His very recent

assignment to a special Restrictive Housing Unit, however, creates logistical complications

delaying his ability to do so. He therefore asks that he be given until May 1, 2023, to file an answer

to the amended complaint. Mr. Murdaugh does not ask that the stay of this matter be extended for

that period. He has no documents to produce and no ability to participate in testimonial discovery
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in the next thirty days, so allowing other parties to proceed with the litigation while also allowing

Mr. Murdaugh until May 1, 2023, to file an answer would not further delay this action or create

any additional prejudice for any party.

                                              s/ Phillip D. Barber
                                              Richard A. Harpootlian, Fed. ID No. 1730
                                              Phillip D. Barber, Fed. ID No. 12816
                                              RICHARD A. HARPOOTLIAN, P.A.
                                              1410 Laurel Street (29201)
                                              Post Office Box 1090
                                              Columbia, South Carolina 29202
                                              (803) 252-4848
                                              Facsimile (803) 252-4810
                                              rah@harpootlianlaw.com

                                              James M. Griffin, Fed. ID No. 1053
                                              Margaret N. Fox, Fed. ID No. 10576
                                              GRIFFIN DAVIS, LLC
                                              4408 Forest Dr., Suite 300 (29206)
                                              P.O. Box 999 (29202)
                                              Columbia, South Carolina
                                              (803) 744-0800
                                              jgriffin@griffindavislaw.com
                                              mfox@griffindavislaw.com

                                              Attorneys for Richard Alexander Murdaugh

Columbia, South Carolina
April 3, 2023.




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